                                                Scott D. Kline
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                                                     CFE, SME
                            Phone: 940-765-1483 | ScottDKline@Gmail.com |Sumner, Texas
                                          www.linkedin.com/in/scottdkline

FRAUD AND FIREARMS
Fraud Investigator with 22+ years of experience executing complex money Laundering (USA Patriot Act, Bank Secrecy
Act), export compliance, and National Firearms Act (machine gun conversation devices). Developed investigative
assessments and operational plans, delivered prosecutions and financial seizures. Provided Subject Matter Expertise to
Criminal and Immigration Defense Attorneys

PROFESSIONAL CERTIFICATIONS
Certified Fraud Examiner | Association of Certified Fraud Examiners |Austin, Texas
Certified Public Accountant (retired) | Indiana State Board of Accountancy | Indianapolis, Indiana

SUBJECT MATTER EXPERT:                Anti-Money Laundering |Fraud Investigations | Court testimony | Training
                                      U.S. Federal District Court, Northern District of Texas

Consultant-Owner                                                               September 2022-Present
Oak Water Investigative Services, LLC, Sumner, Texas
Senior Consultant who provides expert analysis to Defense Attorneys regarding various forms of financial fraud and
firearms violations.

    •   Evidence analysis in identity theft and bank fraud defense preparation.
    •   Affidavit preparation and submission for an immigration court hearing.
    •   Training and evidence review in a National Firearms Arms criminal defense regarding machine gun
        conversion devices.

Special Agent, Counter-Proliferation Project Manager (Retired)                         May 2015- September 2021
United States Department of Homeland Security, Homeland Security Investigations, Dallas, Texas
Served as Case Project Manager to drive operational advancement to protect America’s technology and financial
systems from internal and external adversaries. Focus on leveraging project management skills, communicating
initiatives, building industry relationships.

•   Established an undercover business platform to investigate and identify foreign nationals that imported machine
    conversion devices (Glock Switches and AR-15 Lighting Links) into the United States.
•   Identified 2 high-risk, special interest countries from where the machine gun devices were shipped.
•   Seized 100+ in-bound shipments of machine gun conversion devices.
•   Collaborated with The Bureau of Alcohol, Tobacco, and Firearms (ATF) regarding the international sources of
    machine gun parts.
•   Developed and Delivered Training courses to Homeland Security Special Agents regarding machine gun
    conversion devices.
•   Guest Speaker for Homeland Security Headquarters’ personnel regarding the importation of machine gun
    conversion devices from special interest countries.
•   Investigated a Transnational Criminal Organization (TCO) that stopped $150 million of contraband from
    entering the U.S. economy. Conspirators used web-based payment platforms to launder proceeds. Seized website
    store fronts and prosecuted multiple conspirators.
•   Project Manager for investigation that identified 6 tier supply chain and money laundering scheme. Generated
    $180,000 in seizure proceeds. Extensive use of SARs/ FinCEN as foundation of investigation
                                               Scott D. Kline
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Program Manager, Undercover Operations                                   August 2020-September 2021(retired)
United States Department of Homeland Security, Homeland Security Investigations, Dallas, Texas
Program Manager for a national undercover operation that required forward thinking methodologies, finance expertise
and proven customer service skills.

•   Management of multimillion-dollar program comprised of 5+ funding sources and one direct report.
•   Compliance management that focused on adherence to governmental policy that produced issue-free audits.
•   Developed and managed an undercover business platform for the purpose identifying conspirators from high-risk
    countries who sold machine gun conversion devices to American citizens.

AREAS OF EXPERTISE
Financial Crimes Investigations      Money Laundering Investigations (ML)          OFAC Investigations (TF)
Bank Fraud                           Medicare Fraud Investigations                 Identity Theft and ID Fraud

Professional Awards:                 Valor (2018), Excellence in Public Service (2017)

Education                     Bachelor of Science, Accounting | Manchester University | North Manchester, Indiana
